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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MAROOF HAQUE

           Plaintiff                CIVIL ACTION

     vs.
                                    NO. 15-CV-1355
SWARTHMORE COLLEGE

           Defendant
                                    FILED UNDER SEAL
                                                             Fl LED
                                                             MAR 2- 20\7
                                                          KAiE BARK~~~tierk
                                  ORDER                   BY'----


     AND NOW, this      d.. B~day     of February, upon consideration

of Plaintiff's Motion for Statutory and Inherent Sanctions

against Defendant on the grounds that Defendant does not have

standing to move to disqualify Mr. Jauregui and Defendant's

Response in Opposition thereto, it is hereby ORDERED that the

Motion for Sanctions is DENIED.

                                        BY THE COURT:
